Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 1 of 22 Page ID #:15446



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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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      CHELSEA HAMILTON, et. al.,                  Case No. 5:17-CV-01415 AB (KKx)
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                      Plaintiffs,
12                                                ORDER DENYING PLAINTIFFS’
      v.                                          RENEWED MOTION FOR
13                                                JUDGMENT AS A MATTER OF LAW
      WAL-MART STORES, INC., et al.,              [329]; DENYING PLAINTIFFS’
14                                                MOTION FOR A NEW TRIAL [330];
                      Defendants.                 DENYING DEFENDANTS’ MOTION
15                                                FOR JUDGMENT AS A MATTER OF
                                                  LAW [335]; AND DENYING
16                                                PLAINTIFFS’ MOTION TO AMEND
                                                  JUDGMENT [DKT. 328].
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           Before the Court are four motions: (1) Plaintiffs Chelsea Hamilton and Alyssa
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     Hernandez’s (collectively, “Plaintiffs”) Renewed Motion for Judgment as a Matter of Law
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     or, In the Alternative, Motion for New Trial [Dkt. 329] (“Pls.’ JMOL”); (2) Plaintiffs’
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     Motion for a New Trial [Dkt. 330] (“Pls.’ New Trial Mot.”); (3) Defendants Wal-Mart
25
     Stores, Inc. and Wal-Mart Associates, Inc.’s (collectively, “Walmart” or “Defendants”)
26
     Renewed Motion for Judgment as a Matter of Law [Dkt. 335] (“Defs.’ JMOL”); and (4)
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     Plaintiffs’ Motion to Amend Judgment [Dkt. 328] (“Pls.’ Amendment Mot.”).
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 2 of 22 Page ID #:15447



 1         Walmart filed a combined opposition to Plaintiffs’ motions for judgment as a matter
 2   of law and a new trial [Dkt. 329, 330] on October 30, 2019 [Dkt. 338] and a notice of
 3   errata on November 8, 2019 [Dkt. 341] with a corrected opposition brief1 attached as
 4   Exhibit A [Dkt. 341-1] which the Court accepts as Walmart’s operative opposition
 5   (“Defs.’ Opp’n”). Plaintiffs replied on November 20, 2019 [Dkt. 344] (“Pls.’ Reply”).
 6         Plaintiffs opposed Walmart’s Renewed Motion for Judgment as a Matter of Law
 7   on October 30, 2019 [Dkt. 340] (“Pls.’ Opp’n”), and Walmart replied on November 20,
 8   2019 [Dkt. 342] (“Defs.’ Reply”).
 9         Walmart opposed Plaintiffs’ Motion to Amend Judgment on October 30, 2019
10   [Dkt. 339] (“Defs.’ Amendment Mot. Opp’n”), and Plaintiffs replied on November 20,
11   2019 [Dkt. 342] (“Pls.’ Amendment Mot. Reply”). Walmart filed a notice of supplemental
12   authority on January 9, 2020 informing the Court that the California Supreme Court
13   granted review of the case Plaintiffs rely on as new authority requiring an amended
14   judgment. [Dkt. 346].
15         The Court held oral arguments on January 31, 2020 and took the motions under
16   submission. [Dkt. 349].
17         Having considered the parties’ submissions and argument, the relevant law, and the
18   record in this case, the Court hereby DENIES the parties’ motions.
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       Each parties’ counsel certify compliance with Local Rule 7-3, representing that with
22   respect to each motion they “contact[ed] counsel to discuss thoroughly, preferably in
23   person, the substance of the contemplated motion and any potential resolution.” C.D.
     Cal. R. 7-3. Yet Walmart filed a notice of errata 9 days after its opposition was due
24   withdrawing its leading opposition argument—that Plaintiffs did not move for judgment
     as a matter of law under Rule 50(a) on the issues Plaintiffs now raise under Rule 50(b)—
25   because Walmart’s counsel reportedly misread the trial transcript and did not see part
26   of Plaintiffs’ oral motion under Rule 50(a). Not. Of Errata [Dkt. 341]. This admission
     shows that counsel failed to comply with the spirit and letter of Local Rule 7-3 with
27   respect to Plaintiffs’ grounds for judgment as a matter of law before seeking Court
     intervention. The Court admonishes counsel for unnecessary filings and withdrawal of
28   arguments that would have been obviated by compliance with Local Rules.
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 3 of 22 Page ID #:15448



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 2         I.     BACKGROUND
 3         The Court has extensively recited pre-trial procedural and factual background
 4   relevant to the instant motions in its order denying the parties’ motions for partial
 5   summary judgment [Dkt. 236] (“MSJ Order”) and its order regarding class certification
 6   [Dkt. 121] (“Cert. Order”). The Court incorporates that discussion here and provides the
 7   following relevant background.
 8         Plaintiffs, individually and on behalf of a certified class, brought this action against
 9   Walmart for alleged violations of the California Labor Code and the Unfair Competition
10   Law (“UCL”), including Walmart’s alleged failure to pay overtime to employees who
11   worked over 8 hours per day and its alleged failure to provide employees with duty-free
12   30-minute meal breaks. Plaintiffs moved for partial summary judgment on their overtime
13   claim, arguing in part that employees who elected to adopt an Alternative Workweek
14   Schedule (“AWS”) did so by way of a defective election further discussed below,
15   rendering the subsequently implemented AWS improper. [Dkt. 168 at 10-19]. The Court
16   denied that motion on March 4, 2019. MSJ Order at 18-24.          Walmart likewise moved
17   for partial summary judgment on Plaintiffs’ meal break claim to the extent it is premised
18   on the theory that a security check at Walmart impeded or discouraged employees leaving
19   work facilities during their lunch break. [Dkt. 156 at 3-6]. The Court denied that motion
20   in the same March 4, 2019 order. MSJ Order at 6-10.
21         At the pretrial conference on April 3, 2019, the Court held that Plaintiffs could not
22   present evidence of the start dates of 33 employees who began working after the AWS
23   election or evidence concerning Plaintiffs’ theory that 117 employees who purportedly
24   began working between December 8, 2015 and February 6, 2016 should have participated
25   in the AWS election. Trial Tr. 5:16-6:13.
26         Trial commenced on April 3, 2019. Following the close of Walmart’s case,
27   Plaintiffs orally argued with respect to their overtime claim two motions for judgment as
28   a matter of law pursuant to Rule 50(a) which the Court denied. Following the close of
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 4 of 22 Page ID #:15449



 1   Plaintiffs’ case, Walmart moved for judgment as a matter of law pursuant to Rule 50(a)
 2   on Plaintiffs’ meal break claim and the Court denied that motion.
 3         After deliberation, the jury returned a special verdict in Walmart’s favor on
 4   Plaintiffs’ overtime claim, finding that Walmart “prove[d] by a preponderance of the
 5   evidence that it met the requirements for an Alternative Workweek Schedule election
 6   regarding” both 4-day weekday shifts and the 3-day weekend shift. [Dkt. 286 at 2, 5].
 7   The jury returned a verdict in favor of Plaintiffs on their meal break claim and awarded
 8   $6,001,599 in damages. [Dkt. 286 at 8-9, 13].
 9         On April 19, 2019, Plaintiffs submitted their application for prejudgment interest at
10   the rate of 10% per annum based on Civil Code section 2839. [Dkt. 291]. On August 12,
11   2019, the Court denied Plaintiffs’ request for prejudgment interest after extensive briefing
12   on the issue. [Dkt. 317].
13         Plaintiffs now renew their motion for judgment as a matter of law on their overtime
14   claim and move for a new trial on that claim and its derivate claim for waiting time
15   penalties. Walmart likewise now renews its motion for judgment as a matter of law on
16   Plaintiffs’ meal break claim. Finally, Plaintiffs now move under Rule 59(e) to amend the
17   judgment to include prejudgment interest at a rate of 7% per annum.
18         II.     LEGAL STANDARD
19               A. Renewed Motion for Judgment as a Matter of Law
20         A motion under Rule 50(b) challenges the sufficiency of the evidence presented
21   at trial to support the prevailing party’s case. Judgment as a matter of law following a
22   jury verdict is proper “if the evidence, construed in the light most favorable to the
23   nonmoving party, permits only one reasonable conclusion, and that conclusion is
24   contrary to the jury’s.” Vollrath Co. v. Sammi Corp., 9 F.3d 1455, 1460 (9th Cir. 1993).
25   Judgment as a matter of law is improper if there is substantial evidence to support the
26   jury’s verdict. Transgo, Inc. v. Ajac Transmission Parts, Corp., 768 F.2d 1001, 1014
27   (9th Cir. 1985). “‘Substantial evidence’ is admissible evidence that reasonable minds
28   might accept as adequate to support a conclusion.” Davis v. Mason Cnty., 927 F.2d
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 5 of 22 Page ID #:15450



 1   1473, 1486 (9th Cir. 1991). In considering a motion under Rule 50, the Court does not
 2   assess the credibility of witnesses and does not “weigh the evidence, but [instead] draws
 3   all factual inferences in favor of the nonmoving party.” Lytle v. Household Mfg., Inc.,
 4   494 U.S. 545, 554 (1990). The “standard for granting summary judgment ‘mirrors’ the
 5   standard for judgment as a matter of law, such that ‘the inquiry under each is the same.’”
 6   Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000) (internal citation
 7   omitted). Finally, the Court may not substitute its judgment of the facts for the judgment
 8   of the jury. Tennant v. Peoria & Pekin Union Ry. Co., 321 U.S. 29, 33 (1944).
 9         B. Motion for a New Trial
10         Rule 59 governs motions for a new trial. Pursuant to Rule 59(a)(1), “[t]he court
11   may, on motion, grant a new trial on all or some of the issues . . . , for any reason for
12   which a new trial has heretofore been granted in an action at law in federal court.” Fed.
13   R. Civ. P. 59(a)(1)(A). Although Rule 59 does not enumerate specific grounds for a
14   new trial, the Ninth Circuit has held that “the trial court may grant a new trial only if
15   the verdict is contrary to the clear weight of the evidence, is based upon false or
16   perjurious evidence, or to prevent a miscarriage of justice.” Molski v. M.J. Cable, Inc.,
17   481 F.3d 724, 729 (9th Cir. 2007) (quoting Passantino v. Johnson & Johnson Consumer
18   Prods., 212 F.3d 493, 510 n.15 (9th Cir. 2000)) (brackets omitted). A district court
19   “enjoys considerable discretion in granting or denying the motion.” Jorgensen v.
20   Cassiday, 320 F.3d 906, 918 (9th Cir. 2003).
21         When the movant claims that a verdict was against the clear weight of the
22   evidence at trial, a new trial should be granted “[i]f, having given full respect to the
23   jury’s findings, the judge . . . is left with the definite and firm conviction that a mistake
24   has been committed.” Landes Const. Co., Inc. v. Royal Bank of Canada, 833 F.2d 1365,
25   1371–72 (9th Cir. 1987) (quotations omitted). A “jury’s verdict must be upheld if it is
26   supported by substantial evidence, which is evidence adequate to support the jury’s
27   conclusion, even if it is also possible to draw a contrary conclusion.” Pavao v. Pagay,
28   307 F.3d 915, 918 (9th Cir. 2002).
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 6 of 22 Page ID #:15451



 1          C. Motion to Amend Judgment
 2          Pursuant to Rule 59(e) a party may move to alter or amend the judgment within
 3   28 days after entry of the judgment. The specific grounds for amendment of judgment
 4   are not set forth in Rule 59(e) and the district court has considerable discretion in
 5   granting or denying the motion. Allstate Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th
 6   Cir. 2011). “[A] Rule 59(e) motion is an ‘extraordinary remedy, to be used sparingly
 7   in the interests of finality and conservation of judicial resources.’” Wood v. Ryan, 759
 8   F.3d 1117, 1121 (9th Cir.), cert. denied, 135 S. Ct. 21, (2014) (quoting Kona Enters.,
 9   Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000)). “In general, there are four
10   basic grounds upon which a Rule 59(e) motion may be granted: (1) if such motion is
11   necessary to correct manifest errors of law or fact upon which the judgment rests; (2) if
12   such motion is necessary to present newly discovered or previously unavailable
13   evidence; (3) if such motion is necessary to prevent manifest injustice; or (4) if the
14   amendment is justified by an intervening change in controlling law.” Allstate Ins. Co.,
15   634 F.3d at 1111.
16          III.   DISCUSSION
17          The Court first addresses Plaintiffs’ grounds for judgment as a matter of law and
18   for a new trial.2
19          A. Plaintiffs Are Not Entitled to Judgment as a Matter of Law or a New Trial.
20          Plaintiffs’ primary grounds for judgment as a matter of law on their overtime claim
21   and a new trial are alleged defects in the AWS election and pre-election disclosures.
22   Plaintiffs specifically contend that the evidence at trial established that: (1) Plaintiffs
23   worked shifts of more than 8 hours per day for Walmart; (2) Walmart did not pay Plaintiffs
24
25   2
      Plaintiffs’ Renewed Motion for Judgment as a Matter of Law or, In the Alternative,
26   Motion for New Trial [Dkt. 329] and Motion for a New Trial [Dkt. 330] repeat
     arguments nearly verbatim in support of similar or identical requests for relief.
27   Plaintiffs’ duplicative motions improperly circumvent this Court’s page limitations and
     convolute the bases for relief sought specifically as to each motion. The Court instructs
28   Plaintiffs’ counsel to comply with the rules of this Court in future filings.
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 7 of 22 Page ID #:15452



 1   overtime for hours worked between 8 and 10 hours per shift; and (3) Walmart did not
 2   properly disclose the impact of the AWS election or permit all affected employees to
 3   participate in that election as further discussed below. Plaintiffs separately argue that a
 4   new trial is necessary because this Court precluded introduction of evidence concerning
 5   employees who began working after the AWS election. The Court rejects these arguments.
 6             1. Standard for Alternative Workweek Schedules
 7         California Labor Code section 510 establishes default provisions governing what
 8   constitutes overtime hours and what rate of pay will apply to various tiers of overtime
 9   work. Under section 510(a), if an employee works more than 8 hours in a day or 40 hours
10   in a week, the employer must pay overtime at one and a half times the regular hourly rate,
11   and if an employee works more than 12 hours in a day, the employer must pay overtime
12   at twice the hourly rate. Labor Code section 510(a)(1) provides an avenue by which an
13   employee is exempt from the requirements of section 510.
14         Under sections 510(a)(1) and 511, employees may adopt an alternative workweek
15   schedule that allows for some flexibility in work hours without triggering overtime pay.
16   Section 511(a) provides that “upon the proposal of an employer” and with “approval in a
17   secret ballot election by at least two-thirds of affected employees,” employees may “adopt
18   a regularly scheduled alternative workweek that authorizes work by the affected
19   employees for no longer than 10 hours per day within a 40-hour workweek without the
20   payment to affected employees of an overtime rate of compensation.” The California
21   Code of Regulations states that, “[p]rior to the secret ballot vote, any employer who
22   proposes to institute an alternative workweek schedule shall have made a disclosure in
23   writing to the affected employees, including the effects of the proposed arrangements on
24   the employees’ wages, hours, and benefits.” Cal. Code. Regs. tit. 8, § 11070(3)(C)(3).
25   Like the default provision in section 510, employees who have adopted an AWS under
26   section 511 are not subject to limitations on the maximum number of hours they work.
27   Instead, section 511(b) provides that if an employee works more than the regularly
28   scheduled hours established by the AWS, the employee must be paid overtime wages.
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 8 of 22 Page ID #:15453



 1         On November 20, 2015, Walmart held two meetings for employees who would
 2   vote to adopt a four-day per week 10-hour “weekday” AWS (“the 4/10 AWS”) and a
 3   three-day per week 11.25-hour day “weekend” AWS (“the 3/11.25 AWS”). See Trial Tr.
 4   1013:25-11022:9; Trial Exs. 34, 38. During these meetings, certain prospective impacts
 5   of the AWS election were discussed, and written disclosures were distributed. Id. On
 6   December 7, 2015, Walmart held the “secret ballot” election, with all employees casting
 7   a vote approving the 3/11.25 AWS and 45 of 48 employees approving the 4/10 AWS.
 8   Trial Tr. 680:20-689:13; Trial Ex. 35. Following enactment of these AWSs, Walmart did
 9   not pay overtime compensation to class members working a 4/10 AWS or 3/11.25 AWS
10   for hours worked between eight and ten hours per day. Trial Tr. 578:22-579:1.
11         Plaintiffs contend that they are entitled to judgment as a matter of law or a new trial
12   on their overtime claim because the evidence at trial purportedly demonstrated that
13   Walmart failed to properly enact an AWS that exempts it from overtime requirements.
14   The Court addresses each claimed defect raised by Plaintiffs below.
15             2. The Evidence at Trial Sufficiently Supports that Walmart Disclosed the
16                Effects of the AWS Election.
17         Plaintiffs first argue that the AWS election was defective because Walmart
18   purportedly did not disclose “the effects of the proposed arrangement on the employees’
19   wages, hours, and benefits.” Pls.’ New Trial Mot. at 6 (quoting Cal. Code. Regs. tit. 8 §
20   11070(3)(C)). According to Plaintiffs, both elections were invalid because Walmart only
21   disclosed the effects of the proposed AWSs if an employee casted a “yes” vote—it did not
22   disclose details regarding an employee’s schedule if he or she casted a “no” vote. Id.; see
23   also Pls.’ JMOL at 11 (“The written disclosures are silent as to the schedule(s) the
24   employees would work if they failed to approve the AWS schedule…”).
25         Plaintiffs cite no authority for the proposition that an employer must distribute pre-
26   election written disclosures detailing schedules “the employees would work if they failed
27   to approve the AWS schedule” and the Court finds no such authority. Section 11090’s
28   plain language requires employers proposing an AWS to disclose “the effects of the
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 9 of 22 Page ID #:15454



 1   proposed arrangement”—i.e. the anticipated impacts of the proposed AWS if enacted—
 2   which Plaintiffs cannot dispute were timely disclosed on November 20, 2015. See Trial
 3   Tr. 1013:25-1022:9; Trial Exs. 34, 38. The Court declines Plaintiffs’ invitation to make
 4   new law by invalidating an AWS election in a post-trial order due to lack of information
 5   concerning the effect of a “no” vote. The Court likewise rejects Plaintiffs’ alternative
 6   position that lack of pre-election disclosure regarding the impacts of a “no” vote amounts
 7   to coercion invalidating the election “because it creates the impression that employees are
 8   required to select one of two schedules without any opportunity to reject them.” Pls.’
 9   JMOL at 12; Pls.’ New Trial Mot. at 7; Pls.’ Reply at 2-3. As Walmart notes, the ballots
10   themselves prominently provide as one of two options, “NO, I vote AGAINST the
11   Alternative Workweek Schedule” and the record does not establish the coercion necessary
12   to overturn or throw out the jury’s special verdict. Josephs v. Pac. Bell, 443 F.3d 1050,
13   1062 (9th Cir. 2006) (“The test applied is whether the evidence permits only one
14   reasonable conclusion, and that conclusion is contrary to the jury’s verdict.”) (citing
15   Pavao v. Pagay, 307 F.3d 915, 918 (9th Cir. 2002)).
16         Next, Plaintiffs argue that the AWS election is invalid because Walmart failed to
17   disclose that 3/11.25 AWS employees would receive less sick leave, as the maximum
18   amount of sick leave would change from three full eight-hour days—i.e. 24 hours—to 30
19   hours. Pls.’ JMOL at 6. As Plaintiffs note on reply, Walmart does not dispute that it did
20   not disclose the effects (if any) the proposed 3/11.25 AWS shifts would have on
21   employees’ sick leave benefits but maintains that it presented evidence at trial that the
22   3/11.25 AWS had no effect on employees’ sick leave. Pls.’ Reply at 6.
23         The Court previously rejected Plaintiffs’ very argument in conjunction with their
24   motion for partial summary judgment based on a failure to disclose sick leave theory—
25   distinct from Plaintiffs’ misplaced reliance on an unpled claim under the sick-leave
26   statute—and does so again here due to Plaintiffs’ now-repeated failure to cite authority in
27   support of such a theory. See MSJ Order at 20 [Dkt. 236]. Moreover, Plaintiffs’
28   evidentiary basis to support that the 3/11.25 AWS changed employees’ sick leave is
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 10 of 22 Page ID #:15455



 1    selective testimony from Jennifer Holden, Walmart’s Human Resources Department
 2    Manager, that was quickly corrected as shown by a more complete account of the
 3    examination:
 4          Q: Did either of the AWS votes change the number of hours of sick time that the
 5          associates got?
 6          A: Did the vote itself---
 7          Q: Yes.
 8          A: --change---
 9          Q: Yes.
10          A: -- the number of hours? Yes.
11          Q: Okay. How so?
12          A: Well, they got 30 hours, if I am understanding your question correctly. When
            the vote went into effect and they transitioned to the schedules, instead of getting
13          24 hours, they would get 30 hours.
14          Q: Okay. My question is a little imprecise.
15          A: Okay.
16          Q: Sorry. So they were getting 24 hours in advance.
17          A: Right.
18          Q: They just got it right?
19          A: Right.
20          Q: The day before the vote; is that right?
21          A: Correct.
22          Q: And after the vote, did they continue to get the 24 hours?
23          A: Yes.
24          Q: All right. So the vote didn’t change how many hours of sick time they got?
25          A: No.
26          Q: Later in time, Walmart increased the sick time even more by another six hours;
27          is that right?
            A: Correct.
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 11 of 22 Page ID #:15456



 1          Q: Did the sick time policy change as a result of the AWS votes?
 2          A: No.
 3          Q: So the employees got no fewer and no more sick time hours as a result of the
            AWS vote; is that correct?
 4
            A: Correct.
 5
            Q: Am I correct that sick time has always been measured by hours?
 6
            A: Correct.
 7
            Q: Were the same number of sick hours given to non-AWS employees as AWS
 8          employees?
 9          A: Yes.
10    Trial Tr. 739:2-740:17.
11          Not only is this testimony insufficient grounds to disturb the jury’s verdict and enter
12    judgment for Plaintiffs on their unfounded theory of failure to disclose sick leave, it is
13    affirmative evidence that the increase in sick leave was independent of the AWS election
14    and does not constitute a change that must be disclosed before an AWS election. Plaintiffs
15    relying on the existence of inconsistent testimony and Walmart’s purported failure to
16    “refute” all inferences regarding its sick leave policy (See Pls.’ Reply at 6) as grounds for
17    judgment as a matter of law ignores that the Court may not second-guess the jury’s
18    credibility determinations or its weighing of the evidence. Johnson v. Paradise Valley
19    Unified Sch. Dist., 251 F.3d 1222, 1227 (9th Cir. 2001).
20          The Court rejects Plaintiffs’ request for judgment as a matter of law or a new trial
21    based on Plaintiffs’ theory of failure to disclose sick leave.
22              3. The Evidence at Trial Sufficiently Supports that Affected Employees
23                 Had the Opportunity to Vote in the AWS Election.
24          Plaintiffs argue that the AWS election was invalid because an employee named
25    Erin Schwartz was supposedly an “affected employee” at the time of the election but was
26    not permitted to vote. Pls.’ JMOL at 13-15. Plaintiffs rightly contend that evidence at
27    trial showed that Erin Schwartz was excluded from the AWS pre-election meeting and the
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 12 of 22 Page ID #:15457



 1    AWS vote because she was in the non-AWS position of systems operator, and that she
 2    began working the AWS schedule when it was implemented after the election. Id. at 13
 3    (citing Trial Tr. 619:17-20:21; 636:3-20; 776:5-780:15; Trial Ex. 570, line 202, column
 4    J). Plaintiffs further cite verified interrogatory responses introduced at trial stating that
 5    systems operators employed by Walmart were subject to the AWS. Id. at 14 (citing Trial
 6    Tr. 848:18-850:6; Trial Ex. 560-4, lines 2-13).
 7          In response, Walmart points to testimony in which the individual who verified
 8    Plaintiffs’ cited interrogatory responses providing that systems operators are subject to
 9    AWSs clarified that the subject interrogatory response was erroneous because its list of
10    positions included an employee role “that’s not part of the alternative workweek.” Defs.’
11    Opp’n at 16 (citing Trial Tr. 848:18-849:3). Walmart also cites testimony supporting that
12    Walmart employees frequently change positions during employment and that Erin
13    Schwartz switched positions after the AWS election. Id. (citing Trial Tr. 736:9-17;
14    777:10-779:4; 810:7-19; 1028:8-19).
15          Considering the testimony and evidence presented, the Court cannot conclude that
16    the jury reached a seriously erroneous result, as there was sufficient evidence to support
17    that Erin Schwartz’s pre-election role of systems operator was not subject to the AWSs
18    and therefore that Erin Schwartz was not an “affected employee” entitled to vote in an
19    AWS election that occurred before she switched positions. Carrethers v. Bay Area Rapid
20    Transit, No. 9-cv-01101-EMC, 2012 WL 1004847, at *5 (N.D. Cal. March 26, 2012) (“A
21    district court’s discretion is more limited in cases where, as here, there is conflicting
22    evidence on each side and the case turns on credibility issues.”). While Plaintiffs’ citation
23    of evidentiary ambiguity concerning the timing and nature of Erin Schwartz’s evolving
24    employment (See Pls.’ Reply at 3-5) may raise questions as to her role at Walmart before
25    and after the AWS election, the Court cannot discard reasonable evidence-based
26    inferences drawn by the jury that led to a conclusion contrary to Plaintiffs’. Cassiday,
27    320 F.3d at 918.
28          Plaintiffs also ask the Court to order a new trial based on the already-rejected legal
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 13 of 22 Page ID #:15458



 1    argument that 33 employees who began working on December 8, 2015 were “affected
 2    employees” entitled to vote in the December 7, 2015 AWS election. See Pls.’ New Trial
 3    Mot. at 10-17. As the Court has previously made clear, it is undisputed that the 33
 4    employees cited by Plaintiffs began working for Walmart after the AWS elections and
 5    therefore do not constitute “affected employees” who must participate in elections
 6    occurring before commencement of their employment. MSJ Order at 21-22; Dkt. 305 at
 7    10:18-11:4; 14:7-15:25. As at the summary judgment stage, Plaintiffs again cite evidence
 8    suggesting opportunism and some level of pre-employment control of prospective
 9    employees on Walmart’s behalf and reiterate this Court’s observation that “Plaintiffs’
10    evidence arguably suggests Walmart engaged in foul play.” Pls.’ Reply at 8-9. But
11    Plaintiffs again offer no legal grounds—as opposed to suspicions and public policy
12    concerns—for this Court to deem the 33 individuals at issue “employees” before they
13    began working for Walmart, let alone do Plaintiffs point the Court towards trial evidence
14    sufficient to nullify the jury’s verdict on Plaintiffs’ stated grounds of “subterfuge.”
15           Instead, in urging this Court to reconsider its ruling that individuals are not
16    “affected employees” within the meaning of the AWS regulations before they commence
17    employment, Plaintiffs rely on Laeng v. Workmen’s Comp. Appeals Bd., 6 Cal. 3d 771
18    (1972) where the California Supreme Court held a job applicant was entitled to benefits
19    under the Workers’ Compensation Act (“WCA”) for injuries he sustained during a
20    physical evaluation for his prospective employer. Pls.’ New Trial Mot. at 13-14. But
21    Laeng and its subsequent application make clear that the California Supreme Court’s
22    liberal interpretation of “employee” was based on and limited to application of the WCA’s
23    broad statutory definition of employee, as well as the fact that the injured prospective
24    worker was exposed to the “special risks” of employment the WCA was expressly
25    designed to protect against. 6 Cal. 3d at 782. Here, the 33 individuals’ relationship with
26    Walmart was defined by the very “contractual or common law conceptions of
27    employment” and distinct statutory definitions of employment that Laeng expressly
28    disclaimed in finding that the “history and fundamental purposes underlying the [WCA]”
                                                  13
Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 14 of 22 Page ID #:15459



 1    compelled the conclusion that plaintiff’s pre-employment injury arose from an
 2    “‘employment’ relationship sufficient to bring the act into play.” Id. at 776-777.
 3          Plaintiffs’ reliance on Laeng and other inapposite authority and evidence this Court
 4    already rejected—and their reference to “liberal interpretation” of the Labor Code and
 5    myriad documents evidencing “Defendants’ level of control prior to an employee’s start
 6    date”—provides no statutory or other legal grounds to reconsider this Court’s prior
 7    holdings, nor does it justify radical expansion of statutory principles grounded in the WCA
 8    to other employment contexts.
 9          Hence, the Court declines to grant judgment as a matter of law or order a new trial
10    based on Plaintiffs’ argument that “affected employees” were not afforded the opportunity
11    to vote in the AWS election.3
12              4. Plaintiffs’ Request for Judgment as a Matter of Law and a New Trial
13                 Based on “Self-Selecting Work Units” has No Basis in Law.
14          Plaintiffs request judgment as a matter of law and a new trial based on the argument
15    that “employees self-selected into a ‘work unit’” in violation of Cal. Code. Regs. tit. 8, §
16    11090(3)(C)(3), which requires that an AWS be approved by “at least a two-thirds (2/3)
17    vote of the affected employees in the work unit.” Pls.’ JMOL at 12; Pls.’ New Trial Mot.
18    at 7-8. Plaintiffs contend that because “all voting employees worked a 5-day-per-week, 8
19    hour-per-day schedule,” they were in the same “work unit” but nevertheless voted for two
20    different AWSs according to criteria—i.e. the 4/10 and 3/11.25 AWSs—that did not exist
21    at the time of the election, warranting invalidation of that election. Pls.’ JMOL at 12; Pls.’
22    New Trial Mot. at 7-8.
23          Again, however, Plaintiffs do not and cannot cite precedent for their novel
24
      3
25      Plaintiffs’ re-cast alternative argument that the Court should order a new trial based on
      the Court’s preclusion of evidence concerning certain employees’ start dates is predicated
26    upon and inextricably intertwined with their argument that these individuals were
27    “affected employees” entitled to vote in the AWS election and fails for the same reasons
      discussed here and the reasons previously stated by this Court.
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 15 of 22 Page ID #:15460



 1    proposition that a work shift must pre-exist an AWS election for employees to vote for
 2    adoption of that work shift. No such authority exists, as it would illogically preclude
 3    employees from participating in a statutorily-authorized AWS vote to change shifts if a
 4    desired shift proposed by their employer differs from a shift the employee is currently
 5    working. And contrary to Plaintiffs’ assertions, the jury did hear sufficient evidence to
 6    support that the AWS election complied with Cal. Code. Regs. tit. 8, § 11090(3)(C)(3)—
 7    Walmart demonstrated that two “work units,” defined according to the two proposed
 8    AWSs, approved the AWSs by a margin exceeding the requisite two-thirds. Trial Tr.
 9    680:20-689:13; Trial Ex. 35.
10          Plaintiffs do not persuasively contest this evidence or provide sound legal grounds
11    for their novel definition of “work units.” The Court therefore rejects Plaintiffs’ request
12    for judgment as a matter of law and a new trial based on this theory.
13              5. Disposition of Plaintiffs’ Motions
14          For the foregoing reasons, Plaintiffs are not entitled to judgment as a matter of law
15    on their overtime claim, nor are they entitled to a new trial with respect to that claim.
16    Hence, the Court does not reach Plaintiffs’ arguments pertaining to their derivative claim
17    for waiting time penalties under Labor Code, section 203. Ling v. P.F. Chang’s China
18    Bistro, Inc., 245 Cal. App. 4th 1242, 1261 (2016) (“A section 203 claim is purely
19    derivative of an action for the wages from which the penalties arise.”). Plaintiffs’
20    Renewed Motion for Judgment as a Matter of Law or, In the Alternative, Motion for New
21    Trial [Dkt. 329] and Plaintiffs’ Motion for a New Trial [Dkt. 330] are therefore DENIED.
22          The Court now turns to Defendants’ Renewed Motion for Judgment as a Matter of
23    Law [Dkt. 335].
24          B. Walmart is Not Entitled to Judgment as a Matter of Law.
25          It is undisputed that Walmart’s standard practice was to require class members to
26    pass through a security check if that employee chose to exit the facility during his or her
27    lunch break. Trial Tr. 497:6-22; 675:7-12; 765:13-20; 917:13-20; 918:15-17; 1044:25-
28    1045:11. Plaintiffs’ meal break claim proceeded to trial on the theory that Walmart’s
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 16 of 22 Page ID #:15461



 1    security check impeded or discouraged class members from taking compliant 30-minute
 2    meal breaks and the jury agreed, finding that Plaintiffs proved by a preponderance of the
 3    evidence that Walmart did not provide class members with the requisite opportunity to
 4    take mandatory 30-minute meal breaks. [Dkt. 286 at 8-9, 12]. Walmart maintains that
 5    this verdict was baseless, and that Walmart is entitled to judgment as a matter of law on
 6    Plaintiffs’ meal break claim because Plaintiffs ostensibly failed to adduce evidence that
 7    class members were subjectively discouraged from taking required meal breaks. Defs.’
 8    JMOL at 12-16. Walmart alternatively argues that the evidence at trial established that at
 9    least some of the class members were not discouraged from taking required meal breaks
10    and that awarding these uninjured class members damages violates the Due Process
11    Clause, the Rules Enabling Act, and Article III. Id. at 19. Walmart also requests that the
12    Court “order decertification of the meal break class in light of the evidence presented at
13    trial showing that persons within the class were not discouraged from taking meal breaks.”
14    Id. at 18 n.1. The Court rejects these arguments.
15              1. The Evidence at Trial Sufficiently Supports that Walmart’s Security
16                  Check Impeded or Discouraged Lunch Breaks.
17           In Brinker Restaurant v. Superior Court, the California Supreme Court explained
18    that the fundamental employer obligation associated with a meal break is “to relieve the
19    employee of all duty and relinquish any employer control over the employee and how he
20    or she spends the time.” 53 Cal. 4th 1004, 1038-40 (2012). “The employer satisfies this
21    obligation if it relieves its employees of all duty, relinquishes control over their activities
22    and permits them a reasonable opportunity to take an uninterrupted 30-minute break, and
23    does not impede or discourage them from doing so.” Id. at 1040 (emphasis added).
24           When applying this controlling authority at the summary judgment stage, this Court
25    rejected Walmart’s argument that Plaintiffs must show that the security check “actually
26    prevents employees from taking meal breaks or off-site meal breaks,” reasoning that
27    Brinker instead mandates that “Plaintiffs need only present evidence from which a jury
28    could conclude that the security check impedes or discourages them from doing so.” MSJ
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 17 of 22 Page ID #:15462



 1    Order at 8 (internal citations and quotations omitted) (emphasis in original); see also Cert.
 2    Order at 11 (“[T]he emphasis is on the action of the employer, not necessarily whether an
 3    employee felt personally discouraged.”).
 4          Walmart now revives its contention that “under Brinker, if employees are not
 5    actually impeded or discouraged from taking an uninterrupted 30-minute break then there
 6    has been no violation and an employee has no meal-break claim.” Defs.’ JMOL at 8.
 7    Here, as in summary judgment briefing, Walmart points to evidence that a portion of class
 8    members left the facility during meal breaks despite being required to exit through the
 9    security check and concludes that such evidence warrants the extreme remedy of judgment
10    as a matter of law on the entirety of Plaintiffs’ meal break claim; in this instance,
11    overturning the jury’s verdict despite countervailing evidence that at least some class
12    members were in fact discouraged from taking mandatory meal breaks. Id. at 10; Trial
13    Tr. 501:19-502:8 (Alyssa Hernandez testifying that she was discouraged from taking meal
14    breaks because “[i]t was just a hassle having to pretty much undress myself to go out of
15    the building.”); 917:10-918:7 (Ray Cabrera testifying that he felt discouraged from taking
16    meal breaks due to the need to “clock out, put your equipment down in your locker, get
17    your personal items – cellphone, wallet, keys – go to the security line and empty
18    everything out of your pockets, put on a conveyor belt, go through the metal detector, turn
19    on your phone, show them that’s your personal phone” and additionally if he had a bag,
20    “[g]o to the table, show it to the AP, the security officer, and take out everything that’s in
21    there and show them that you’re not stealing or it’s your stuff.”).4
22          Walmart characterized such countervailing evidence in its Rule 50(a) motion as
23    “handpicked, anecdotal testimony” that was “highly individualized” because “some class
24    members… admittedly were not discouraged from taking duty-free meal breaks.” Id. at
25    10-11 (citing Dkt. 276 at 3-6) (emphasis in original). But Walmart ignores that the
26
      4
27      Mr. Cabrera also testified that he altered his regular work wardrobe due to the extra
      time it took to pass through Walmart’s security check when he wore his preferred
28    clothing—time spent after he clocked out during his meal break. Id.
                                                  17
Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 18 of 22 Page ID #:15463



 1    primary relief sought by its Renewed Motion for Judgment as a Matter of Law addressed
 2    here is entry of judgment against all class members, including purportedly “anecdotal”
 3    class members that Walmart admits expressed actual discouragement stemming from
 4    Walmart’s security check. Id.; see also Trial Tr. 501:19-502:8; 917:10-918:7. Even
 5    assuming adoption of Walmart’s interpretation of Brinker and its progeny, Walmart’s
 6    claimed evidentiary deficiencies concerning individual class members go to Walmart’s
 7    alternative relief addressed below—decertification of the meal break class and concerns
 8    with compensating allegedly uninjured class members—but do not justify blanket reversal
 9    of the jury’s verdict under Rule 50(b). Lakeside–Scott v. Multnomah Cnty., 556 F.3d
10    797, 803 (9th Cir. 2009) (judgment as a matter of law is appropriate when the jury could
11    have only relied on speculation to reach its verdict). As at the summary judgment stage,
12    the Court may not “weigh the evidence” and substitute its judgment of the facts for the
13    judgment of the jury as Walmart requests but must draw “all factual inferences in favor”
14    of Plaintiffs as the nonmoving party. Lytle, 494 U.S. at 554. And Walmart provides the
15    Court with no reason to reach a different result than at the summary judgment stage on
16    this issue. Id.
17          Considering the testimony and evidence presented at trial through the lens of the
18    stringent standard in favor of Plaintiffs, this Court cannot find as a matter of law under
19    Rule 50(b) that no reasonable jury could have concluded that Walmart’s standard
20    practices, which indisputably applied to all class members, impeded or discouraged
21    meal breaks. Dunlap v. Liberty Natural Prods., Inc., 878 F.3d 794, 797 (9th Cir. 2017)
22    (“A jury's verdict must be upheld if it is supported by substantial evidence that is
23    adequate to support the jury's findings, even if contrary findings are also possible.”)
24    (quoting Escriba v. Foster Poultry Farms, Inc., 743 F.3d 1236, 1242 (9th Cir. 2014)).
25              2. Walmart’s Alternative Arguments Offer No Grounds for the Relief
26                 Walmart Seeks under Rule 50(b).
27          Walmart’s alternative arguments are based on the Due Process Clause, the Rules
28    Enabling Act, and Article III of the United States Constitution. Defs.’ JMOL at 16-18.
                                                18
Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 19 of 22 Page ID #:15464



 1    According to Walmart, the jury’s damages award was so far afield of the evidence
 2    presented at trial that it violates: (1) the prohibition on “interpreting Rule 23 to ‘abridge,
 3    enlarge or modify any substantive right”; (2) due process by “eliminat[ing] Walmart’s
 4    defense that many class members” were allegedly uninjured; and (3) Article III by
 5    “unconstitutionally enlarg[ing] the jurisdiction of the federal courts,” concluding that
 6    “[g]iven these significant concerns, the Court should enter judgment as a matter of law
 7    for Walmart on Plaintiffs’ meal break claim.” Defs.’ JMOL at 16-18. Walmart does
 8    not move to strike any portion of the allegedly inflated damages award it attributes to
 9    purportedly uninjured class members—nor did it under Rule 50(a)—but solely requests
10    that the Court overturn the jury completely and award Plaintiffs $0. Id.; Walmart’s
11    Mot. For J. as a Matter of Law on Pls.’ Meal Break Claim under Rule 50(a) [Dkt. 276].
12    Walmart also asks the Court to decertify the meal break class due to the alleged
13    existence of uninjured class members. Id. at 18 n.1.
14          As Walmart noted in its initial opposition to Plaintiffs’ renewed motion for
15    judgment as a matter of law that it later withdrew, a district court commits “reversible
16    error” by “granting judgment as a matter of law” on a basis that does “not correspond
17    with the arguments in the” moving party’s Rule 50(a) motion. [Dkt. 338 at 13] (citing
18    Tortu v. Las Vegas Metro. Police Dep’t, 556 F.3d 1075, 1082 (9th Cir. 2017) and
19    Summers v. Delta Air Lines, Inc., 508 F.3d 923, 927-28 (9th Cir. 2007)); [see also id. at
20    12-13] (“[a] party cannot raise arguments in in its post-trial motion for judgment as a
21    matter of law under Rule 50(b) that it did not raise in its pre-verdict motion… Rule
22    50(a) explicitly requires the moving party to specify the law and facts on which [it] is
23    entitled to judgment.”) (citations omitted).
24          Walmart’s Rule 50(a) motion does not move to decertify the meal break class
25    and in no way implicates “law and facts” that could be construed as the same
26    decertification argument now made in Walmart’s Rule 50(b) motion. [Dkt. 276]. The
27    Court denies that argument for this reason alone. Tortu, 556 F.3d at 1082. Nor does
28    Walmart’s Rule 50(a) motion cite the Rules Enabling Act, Article III, or the due process
                                                  19
Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 20 of 22 Page ID #:15465



 1    concerns now raised by Walmart in its 50(b) motion. [Dkt. 276].
 2             Even if Walmart’s Rule 50(b) arguments were procedurally proper, Walmart has
 3    not pointed the Court toward any valid legal or evidentiary basis to grant Walmart
 4    judgment as a matter of law under Rule 50(b)—it sets forth no evidence or precedent
 5    by which the Court could convert the jury’s $6,001,599 award to $0, nor has it bothered
 6    to substantiate or specifically challenge portions of the damages award it deems excessive
 7    due to a purported lack of injury. In re Taco Bell Wage & Hour Actions, No. 1:07-CV-
 8    01314-SAB, 2016 WL 8468180, at *6 (E.D. Cal. July 15, 2016) (“Uncertainty of the
 9    fact whether any damages were sustained is fatal to recovery, but uncertainty as to the
10    amount is not.”) (quoting Duran v. U.S. Bank Nat’l Ass’n, 59 Cal. 4th 1, 40 (2014)).
11    Again, even in the event of wholesale adoption of Walmart’s Brinker interpretation,
12    Walmart’s 50(b) motion does not even attempt to account for the class members it admits
13    were discouraged by Walmart’s security check (whose admitted injuries Walmart asks the
14    Court to leave uncompensated) or seek relief that in any way follows Walmart’s claimed
15    evidentiary deficiencies as to individual class members. Brinker, 53 Cal. 4th at 1033
16    (“An employer is required to authorize and permit the amount of rest break time called
17    for under the wage order for its industry. If it does not… it has violated the wage order
18    and is liable.”). The Court therefore finds that Walmart has presented the Court with no
19    legal basis to enter judgment as a matter of law under Rule 50(b) on Plaintiffs’ meal break
20    claim.
21             Defendants’ Renewed Motion for Judgment as a Matter of Law [Dkt. 335] is
22    DENIED, and the Court turns to Plaintiffs’ Motion to Amend Judgment [Dkt. 328].
23             C. Plaintiffs Are Not Entitled to an Amended Judgment.
24             Plaintiffs move under Rule 59(e) for an order amending the judgment in this
25    action to include prejudgment interest at a rate of 7% per annum. See Pls.’ Amendment
26    Mot. Plaintiffs’ sole grounds for their requested amendment is a September 26, 2019
27    holding from the California Court of Appeals finding that “Civil Code section 3287
28    establishes a default interest rate of seven percent for litigants ‘entitled to recover
                                                20
Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 21 of 22 Page ID #:15466



 1    damages certain, or capable of being made certain,’” calculated from the day that the
 2    right to recover the damages vests. Naranjo v. Spectrum Sec. Servs., Inc., 40 Cal. App.
 3    5th 444, 476 (Ct. App. 2019).
 4          But a “Rule 59(e) motion for reconsideration may not be used to raise arguments
 5    or present evidence for the first time when they could reasonably have been raised
 6    earlier in the litigation.” Kona, 229 F.3d at 890. As Walmart notes and Plaintiffs do
 7    not contest, Plaintiffs sought pre-judgment interest pursuant to section 3287 for the first
 8    time by way of the motion now before the Court and never cited section 3287 in relation
 9    to prejudgment interest in prior briefing. Defs.’ Amendment Mot. Opp’n at 6. Indeed,
10    Plaintiffs based their unsuccessful Application for Prejudgment Interest exclusively on
11    section 3289. [Dkt. 291 at 1] (“Per California Civil Code Section 3289, Plaintiffs
12    hereby submit their calculations for prejudgment interest at a rate of 10 percent per
13    annum.”).
14          Plaintiffs instead contend that they were relieved from citing section 3287 as a
15    basis for prejudgment interest until filing their Rule 59 motion because “[a]t the time
16    Plaintiffs filed their application for prejudgment interest, there was no authority
17    establishing that a party prevailing on a claim for meal period premiums was entitled to
18    prejudgment interest thereon…” Pls.’ Amendment Mot at 2. While Naranjo certainly
19    clarified—pending the California Supreme Court’s review—that section 3287
20    establishes a default interest rate of seven percent for qualified litigants, Plaintiffs do
21    not cite pre-Naranjo controlling authority holding that litigants are not so entitled.5 Nor
22    can Plaintiffs explain away that plaintiffs preceding this case—including the plaintiff in
23    Naranjo—did raise section 3287 as a colorable basis for prejudgment interest in
24    conjunction with a claim for meal period premiums, as there was no authority
25
26    5
       As Walmart accurately notes, the “District Court cases denying prejudgment interest
27    on meal period claims” cited by Plaintiffs are consistent with Naranjo and focus instead
      on the distinct issue of whether prejudgment interest was available under Labor Code
28    section 218.6 and Civil Code section 3289. Defs.’ Amendment Mot. Opp’n at 7-8.
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Case 5:17-cv-01415-AB-KK Document 350 Filed 02/11/20 Page 22 of 22 Page ID #:15467



 1    precluding such a prayer. See Naranjo, 40 Cal. App. 5th at 456 (stating that judgment
 2    was entered on January 31, 2014); see also Bernstein v. Virgin Am., Inc., 365 F. Supp.
 3    3d 980, 989 n.10 (N.D. Cal. 2019) (denying motion for prejudgment interest on meal
 4    period claims under Civil Code section 218.6 and expressly declining to rule whether
 5    plaintiff was entitled to prejudgment interest under section 3287 because plaintiff never
 6    raised the issue).
 7          Plaintiffs had ample opportunity to raise section 3287 in prior briefing on
 8    prejudgment interest, like the plaintiff in Naranjo did years before this case’s trial.
 9    Controlling authority with respect to Rule 59(e) mandates that this Court foreclose
10    Plaintiffs’ requested “second bite at the apple.” Weeks v. Bayer, 246 F.3d 1231, 1236–
11    37 (9th Cir. 2001). As such, this Court finds in its discretion that the California Court
12    of Appeals’ resolution of an unclear issue in what Plaintiffs concede is a hotly contested,
13    ambiguous area of law does not constitute an intervening change in controlling law
14    justifying the drastic remedy of amending the judgment under Rule 59(e).
15          Plaintiffs’ Motion to Amend Judgment [Dkt. 328] is DENIED.
16          IV.     CONCLUSION
17          For the foregoing reasons, the Court DENIES Plaintiffs’ Renewed Motion for
18    Judgment as a Matter of Law or, In the Alternative, Motion for New Trial [Dkt. 329];
19    Plaintiffs’ Motion for a New Trial [Dkt. 330]; (3) Defendants’ Renewed Motion for
20    Judgment as a Matter of Law [Dkt. 335]; and (4) Plaintiffs’ Motion to Amend Judgment
21    [Dkt. 328].
22
23          IT IS SO ORDERED.
24
      Dated: February 11, 2020         _______________________________________
25                                     HONORABLE ANDRÉ BIROTTE JR.
26                                     UNITED STATES DISTRICT COURT JUDGE

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